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                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


JAMESON TAYLOR ANDERSON,
ROBERT DEAN ANDERSON, and                 CONSOLIDATED CASES
ROGER MALDONADO,                          PURSUANT TO FED. R. CIV. P. 42

      Plaintiffs,
                                          Civil Action File No.
             v.
                                          1:19-cv-05582-SCJ
USI INSURANCE SERVICES LLC,

      Defendant.


USI INSURANCE SERVICES LLC,

      Plaintiff,                          Civil Action File No.

             v.                           1:20-cv-02490-SCJ

SOUTHEAST SERIES OF
LOCKTON COMPANIES, LLC,

      Defendant.


       ORDER EXTENDING DISPOSITIVE MOTION AND OTHER
                        DEADLINES

      This matter is before the Court upon the Joint Motion to Extend Dispositive

Motion and other Deadlines Given Certain Discovery Issues (the “Joint Motion”)

filed by all parties to these consolidated cases, specifically USI Insurance Services
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LLC (“USI”), Jameson Taylor Anderson, Robert Dean Anderson, Roger

Maldonado, and Southeast Series of Lockton Companies, LLC (“Lockton”).

Having reviewed the Joint Motion, based on the consent of all parties to these

consolidated cases, and for good cause shown, the Court GRANTS the Joint

Motion and ORDERS the following:

      1.      The Court extends the deadline for the filing of any dispositive

motions until thirty (30) days after the competition of the depositions of Manoj

Sharma of Lockton and the deposition of Lockton pursuant to Fed. R. Civ. P.

30(b)(6), which shall be completed within the time specified in Doc. 188-1 ¶ 3 in

Case No. 1:19-cv-05582-SCJ and Doc. 68-1 ¶ 3 in Case No. 1:20-cv-02490-SCJ.

      2.      Once that deposition is completed, the parties shall notify the Court

and submit a Proposed Order establishing the specific deadline by which

dispositive motions must be filed.

   3. The Court further modifies certain deadlines regarding expert discovery as

      follows:

           a. Deadline to depose USI’s expert:       February 5, 2021

           b. Deadline for Plaintiffs or Lockton to designate counter experts:

              February 12, 2021

           c. Deadline to depose counter experts:    March 30, 2021.


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4.   All remaining deadlines in this matter shall remain unchanged.

SO ORDERED this 20th day of January, 2021.

                                      s/Steve C. Jones
                                     ______________________________
                                     The Honorable Steve C. Jones
                                     United States District Judge




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